                UNITED STATES COURT OF INTERNATIONAL TRADE
                BEFORE THE HONORABLE CLAIRE R. KELLY, JUDGE



FULL MEMBER SUBGROUP OF THE
AMERICAN INSTITUTE OF STEEL
CONSTRUCTION, LLC

                      Plaintiff,
               v.

THE UNITED STATES,
                                                                       Court No. 20-00090
                      Defendant,


and

EXXON MOBIL CORPORATION ET AL.,

                      Proposed Defendant-Intervenors


                            CONSENT MOTION TO INTERVENE


       Pursuant to 28 U.S.C. § 2631(j)(1)(B) and Rules 7(b) and 24 of the Rules of the United

States Court of International Trade, ExxonMobil Chemical Company, a division of Exxon Mobil

Corporation, and its affiliate, Gulf Coast Growth Ventures, LLC (collectively “ExxonMobil”)

respectfully move to intervene as Defendant-Intervenors in the above-captioned proceeding.

       Plaintiff Full Member Subgroup of the American Institute of Steel Construction, LLC

initiated this action, alleging jurisdiction under 19 U.S.C. §§ 1516a(a)(2)(A)(i)(I) and (B)(ii) and,

and 28 U.S.C. § 1581(c), to contest the final negative determination of material injury by the

U.S. International Trade Commission (“Commission”) in the antidumping and countervailing

duty investigations of fabricated structural steel from Canada, China, and Mexico. See Certain

Fabricated Structural Steel from Canada, China, and Mexico, 85 Fed. Reg. 16129 (Int’l Trade
Comm’n Mar. 20, 2020); Fabricated Structural Steel from Canada, China, and Mexico, Inv.

Nos. 701-TA-616-617 and 731-TA-1432-1434, USITC Pub. 5031 (Mar. 2020) (Final) (“USITC

Pub. 5031”).

       ExxonMobil is an importer of process plant modules that contain FSS (i.e., subject

merchandise) that participated as a respondent during the administrative proceeding.

ExxonMobil is therefore directly affected by Plaintiff’s action because Plaintiff seeks to nullify

the Commission’s final determination, which could result in an imposition of antidumping and

countervailing duty orders on FSS. ExxonMobil is an interested party under 19 U.S.C. §

1677(9)(A) and may intervene as a matter of right in the above-captioned action pursuant to 28

U.S.C. § 2631(j)(1)(B) (“in a civil action under section 516A of the Tariff Act of 1930, only an

interested party who was a party to the proceeding in connection with which the matter arose

may intervene, and such person may intervene as a matter of right …” (emphasis added)).

       This motion is being filed within 30 days of the date of service of Plaintiff’s complaint

(i.e., May 13, 2020), Complaint, ECF No. 9, and is therefore timely under Rules 24 and 6(a) of

the Rules of this Court.

       Pursuant to Rule 7(f) of the Rules of this Court, counsel for ExxonMobil has consulted

with the parties to this action regarding this motion. On June 10, 2020, Adam Teslik, Counsel

for Plaintiff Full Member Subgroup of the American Institute of Steel Construction, LLC,

consented via email; on June 5, 2020, John David Henderson, counsel for Defendant United

States, consented via email; on June 5, 2020, Matthew Nicely, counsel for Defendant-Intervenor

Cornerstone Building Brands, consented via email; on June 12, 2020, Christopher Dunn, counsel

for Defendant-Intervenor BlueScope Buildings North America Inc., consented via email; and on

June 11, 2020, Ned Marshak, counsel for Defendant-Intervenors Jinhuan Construction Group




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Co., Ltd., Wison (Nantong) Heavy Industry Co., Ltd., Shanghai Matsuo Steel Structure Co., Ltd.,

Yanda (Haimen) Heavy Equipment Manufacturing Co., Ltd., Shanghai Cosco Kawasaki Heavy

Industries Steel Structure Co., Ltd., Modern Heavy Industries (Taicang) Co., Ltd., Dickerson

Enterprises, Inc., and Steel Construction Group, LLC, consented via email.

       As shown in the attached certificate of service, ExxonMobil has complied with

Rule 24(c)(2) by serving its motion to intervene upon the parties to this proceeding, as provided

in Rule 5.

       WHEREFORE, ExxonMobil respectfully requests that this Court grant its motion to

intervene as a Defendant-Intervenor in the above-captioned proceeding.

       A proposed Order is attached.

                                             Respectfully submitted,


                                             /s/ Richard L.A. Weiner
                                             Richard L.A. Weiner
                                             Rajib Pal

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                                            Counsel to Exxon Mobil Corporation and Gulf Coast
                                            Growth Ventures, LLC

June 12, 2020




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               BEFORE THE HONORABLE CLAIRE R. KELLY, JUDGE



FULL MEMBER SUBGROUP OF THE
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                     Plaintiff,
              v.

THE UNITED STATES,
                                                                    Court No. 20-00090
                     Defendant,


and

EXXON MOBIL CORPORATION ET AL.,

                     Proposed Defendant-Intervenors


                                           ORDER

       Upon consideration of the Consent Motion to Intervene filed by ExxonMobil Chemical

Company, a division of Exxon Mobil Corporation, and its affiliate, Gulf Coast Growth Ventures,

LLC (collectively “ExxonMobil”), and all other papers and proceedings herein, it is hereby

       ORDERED that the Consent Motion to Intervene is granted; and it is further

       ORDERED that ExxonMobil may intervene in this action as Defendant-Intervenor.

       SO ORDERED.



                                                    ________________________________
                                                          Judge Claire R. Kelly


Dated: _____________________________, 2020
       New York, New York
